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 8                             UNITED STATES DISTRICT COURT
 9
                              CENTRAL DISTRICT OF CALIFORNIA
10
     RORY ANDERSON, individually and on           Case No.: CV 18-3939-DMG (JCx)
11
     behalf of all others similarly situated,
12   Plaintiff,                                   ORDER OF DISMISSAL [13]
13
                 Plaintiff,
14
15               vs.
16
     R.M. GALICIA, INC. d/b/a
17   PROGRESSIVE MANAGEMENT
18   SYSTEMS, and DOES 1-10, inclusive, and
     each of them,
19
20               Defendant.
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 1         IT IS HEREBY ORDERED that pursuant to the Parties’ Stipulation, the above-
 2   captioned action is dismissed in its entirety, with prejudice as to the named Plaintiff, and
 3   without prejudice as to the Putative Class alleged in the complaint, pursuant to Federal
 4   Rule of Civil Procedure 41(a)(1)(A)(ii). The parties shall bear their own costs and
 5   attorneys’ fees.
 6         All scheduled dates and deadline are VACATED.
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 8   DATED: August 3, 2018                         ________________________________
                                                   DOLLY M. GEE
 9                                                 UNITED STATES DISTRICT JUDGE
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